                                                        Objection Deadline: October 16, 2023

BURNS BAIR LLP
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Special Insurance Counsel to the Official Committee
of Unsecured Creditors of The Roman Catholic Diocese
of Rockville Centre, New York

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re:                                                       Chapter 11
 THE ROMAN CATHOLIC DIOCESE OF                                Case No. 20-12345 (SCC)
 ROCKVILLE CENTRE, NEW YORK,
                     Debtor.


      THIRTY-FOURTH MONTHLY FEE STATEMENT OF BURNS BAIR LLP,
     AS SPECIAL INSURANCE COUNSEL TO THE OFFICIAL COMMITTEE OF
      UNSECURED CREDITORS FOR PROFESSIONAL SERVICES RENDERED
          AND DISBURSEMENTS INCURRED FOR THE PERIOD FROM
                 AUGUST 1, 2023 THROUGH AUGUST 31, 2023

 Name of Applicant:                              Burns Bair LLP

 Authorized to Provide Professional              Official Committee of Unsecured Creditors
 Services to:
 Date of Retention:                              Effective October 29, 2020 pursuant to Order
                                                 dated December 9, 2020 [Docket No. 246]
 Period for which compensation and
                                                 August 1, 2023 – August 31, 2023
 reimbursement is sought:
 Amount of Compensation sought as actual,        $118,810.60
 reasonable, and necessary:                      80% of which is $95,048.48
 Amount of Expense Reimbursement sought
                                                 $0
 as actual, reasonable, and necessary:
 TOTAL (80% of fees and 100% of costs)           $95,048.48

This is the thirty-fourth monthly fee statement.
                                PRELIMINARY STATEMENT

       Burns Bair LLP (“Burns Bair”), as Special Insurance Counsel to the Official Committee of

Unsecured Creditors (the “Committee”) of The Roman Catholic Diocese of Rockville Centre, New

York (the “Debtor”), hereby submits this thirty-fourth monthly statement (the “Monthly

Statement”) for the period from August 1, 2023 through August 31, 2023 (the “Statement Period”)

for payment of professional services rendered and reimbursement of expenses incurred during the

Statement Period pursuant to the Court’s Order Authorizing Procedures for Interim Compensation

and Reimbursement of Expenses of Professionals dated November 4, 2020 [Docket No. 129] (the

“Interim Compensation Order”).        Burns Bair requests interim allowance and payment of

compensation in the amount of $95,048.48 (80% of $118,810.60) for fees on account of reasonable

and necessary professional services rendered to the Committee by Burns Bair.

       FEES FOR SERVICES RENDERED DURING THE STATEMENT PERIOD

       1.        Set forth below is a list of the positions of the Burns Bair professionals and

paraprofessionals who provided services to the Committee during the Statement Period, their

respective billing rates, and the aggregate hours spent by each professional and paraprofessional

in providing services on behalf of the Committee during the Statement Period.

                                                                           Total
                                        Year of      Year of     Hourly                Total
        Name                Title                                          Hours
                                      Partnership   Admission     Rate              Compensation
                                                                           Billed
Timothy Burns              Partner       2008         1991       $975.00   43.20     $42,120.00
Jesse Bair                 Partner       2020         2013       $625.00   41.80     $26,125.00
Nathan Kuenzi             Associate      N/A          2020       $420.00   26.30     $11,046.00
Brian Cawley              Associate      N/A          2020       $420.00   74.20     $31,164.00
Katie Sticklen            Summer
                                         N/A          N/A        $378.00   20.20      $7,635.60
                          Associate
Alyssa Turgeon            Paralegal      N/A          N/A        $360.00    1.20       $432.00
Brenda Horn-Edwards       Paralegal      N/A          N/A        $360.00     .80       $288.00
                                                                TOTAL:     207.70    $118,810.60




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       2.      The rates charged by Burns Bair for services rendered to the Committee are the

same rates that it charges generally for professional services rendered to its non-bankruptcy clients.

A complete itemization of tasks performed by these professionals and paraprofessionals for the

Statement Period is annexed hereto as Exhibit A.

                             NOTICE AND OBJECTION PROCEDURES

       3.      No trustee or examiner has been appointed in these chapter 11 cases. Pursuant to

the Interim Compensation Order, Burns Bair has provided notice of this statement upon the

following parties by electronic or first class mail: (a) the Debtor c/o The Roman Catholic Diocese

of Rockville Centre, 50 N Park Ave P.O. Box 9023, Rockville Centre, NY 11571-9023 (Attn:

Thomas Renker); (b) the attorneys for the Debtor, Jones Day, 250 Vesey Street, New York, NY

10281 (Attn: Corinne Ball, Esq., Benjamin Rosenblum, Esq. and Andrew M. Butler, Esq.); and

(c) the Office of the United States Trustee Region 2 (the “U.S. Trustee”), 201 Varick Street, Suite

1006, New York, NY 10014 (Attn: Greg Zipes, Esq. and Shara Cornell, Esq.). Burns Bair submits

that no other or further notice need be provided.

       4.      Pursuant to the Interim Compensation Order, objections to this Monthly Statement,

if any, must be served upon the Application Recipients by October 16, 2023 (the “Objection

Deadline”) setting forth the nature of the objection and the amount of fees or expenses at issue.

       5.      If no objections to this Monthly Statement are made on or before the Objection

Deadline, the Debtor shall pay Burns Bair 80% of the fees and 100% of the expenses set forth

above. To the extent an objection to this Monthly Statement is timely made, the Debtor shall

withhold payment of that portion of the Monthly Statement to which the objection is directed and

promptly pay the remainder of the fees and disbursements in the percentages set forth above. To




                                                    3
the extent such objection is not resolved; it shall be preserved and presented to the Court at the

next interim or final fee application hearing.



Dated: September 28, 2023                        BURNS BAIR LLP

                                                  /s/ Timothy W. Burns                       .




                                                 Timothy W. Burns, Esq. (admitted pro hac vice)
                                                 Jesse J. Bair, Esq. (admitted pro hac vice)
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                                                 Email: tburns@burnsbair.com
                                                 Email: jbair@burnsbair.com

                                                 Special Insurance Counsel to the Official
                                                 Committee of Unsecured Creditors of The Roman
                                                 Catholic Diocese of Rockville Centre, New York




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EXHIBIT A
                                    10 E. Doty St., Suite 600
                                  Madison, Wisconsin 53703-3392
                                          608-286-2302
                                       www.BurnsBair.com
The Official Committee of Unsecured Creditors                            Issue Date :         9/28/2023
of The Roman Catholic Diocese of Rockville
Centre                                                                             Bill # :      01221




Matter: Insurance

                          PROFESSIONAL SERVICES RENDERED


Date      Timekeeper          Narrative                                            Hours       Amount
8/1/2023 Jesse Bair           Participate in Committee meeting for                   1.50       $937.50
                              insurance purposes re case mediation and
                              insurance strategy and next-steps (1.5);
8/1/2023 Brian Cawley         Discuss motion for relief from stay with T.            4.00     $1,680.00
                              Burns (.1); revise and edit motion to implement
                              partner feedback (3.9);
8/1/2023 Jesse Bair           Review agenda for upcoming Committee                   0.10        $62.50
                              meeting (.1);
8/1/2023 Jesse Bair           Participate in conference with T. Burns re             0.10        $62.50
                              motion to lift stay to send insurance demands
                              (.1);
8/1/2023 Nathan Kuenzi        Review suggested edits to Arrowood 2004                0.40       $168.00
                              topics from I. Nasatir (.4);
8/1/2023 Timothy Burns        Participate in call with J. Stang re Committee         3.80     $3,705.00
                              meeting agenda and insurance presentation
                              (.3); conference with J. Bair re motion to lift
                              stay to send insurance demands (.1); review
                              and revise motion for relief from stay to send
                              insurance demands (1.8); review agenda for
                              Committee meeting (.1); participate in
                              Committee meeting for insurance purposes re
                              case insurance strategy (1.5);
8/1/2023 Jesse Bair           Review correspondence with K. Dine and the             0.20       $125.00
                              mediators re August mediation session (.1);
                              review Order scheduling mediation (.1);
8/2/2023 Brian Cawley         Conference with T. Burns and B. J. Bair re             0.70       $294.00
                              motion to lift stay briefing (.2); discuss details
                              of stay and research project with K. Sticklen
                              (.5);
8/2/2023 Jesse Bair           Review and consider notice of reassignment of          0.10        $62.50
                              the LMI district court action to Judge
                              Subramanian (.1);
8/2/2023 Jesse Bair       Review correspondence with K. Dine and the            0.10     $62.50
                          mediators re August 25 mediation session
                          (.1);
8/2/2023 Katie Sticklen   Discuss research project re case law on topic         4.20   $1,587.60
                          of automatic stay and demand letter correlation
                          to debtor with B. Cawley (.5); research case
                          law regarding automatic stay and demand
                          letter correlation to debtor and if a demand
                          letter can be sent to debtor notwithstanding
                          automatic stay (3.7);
8/2/2023 Jesse Bair       Conference with T. Burns and B. Cawley re             0.20    $125.00
                          motion to lift stay briefing (.2)
8/2/2023 Brian Cawley     Continue drafting motion for relief from stay         5.50   $2,310.00
                          and implementing partner feedback (5.5);
8/2/2023 Timothy Burns    Review and revise latest draft of motion for          2.10   $2,047.50
                          relief from stay re insurance demands (1.1);
                          conference with B. Cawley re revisions to
                          same (.3); review and respond to
                          correspondence from the mediators and K.
                          Dine re mediation logistics (.1); conference
                          with J. Bair and B. Cawley re motion to lift stay
                          briefing (.2); review and respond to
                          correspondence from K. Dine re Arrowood
                          (.1); brief review of Arrowood 2004 motion
                          draft (.1); review the Debtor's letter to the
                          district court re removal issues (.2);
8/2/2023 Brian Cawley     Participate in supplemental conference with T.        0.30    $126.00
                          Burns re additional edits and comments on
                          latest version of motion for relief from stay draft
                          (.3);
8/3/2023 Jesse Bair       Correspondence with I. Nasatir re 2022                0.10     $62.50
                          Arrowood supervision order (.1);
8/3/2023 Timothy Burns    Review and revise adversary complaint re              1.80   $1,755.00
                          potential insurer-Diocese only settlement and
                          Section 349 claim (1.2); conference with N.
                          Kuenzi re revisions to same (.3); review
                          correspondence between J. Bair and BB team
                          re insurance demands (.2); review
                          correspondence from the mediators re
                          upcoming mediations (.1);
8/3/2023 Katie Sticklen   Continue researching case law regarding               4.00   $1,512.00
                          automatic stay and demand letter correlation to
                          debtor and if a demand letter can be sent to
                          debtor notwithstanding the automatic stay
                          (2.0); conference with B. Cawley re Arrowood
                          demand letter project (.4); analyze POC
                          information in connection with drafting
                          Arrowood insurance demand letters (1.6);
8/3/2023 Jesse Bair       Review correspondence from the mediators re           0.10     $62.50
                          upcoming mediation session (.1);
8/3/2023 Alyssa Turgeon   Conference with B. Cawley re Arrowood                1.20    $432.00
                          demand letter assignment (.2); analyze
                          Arrowood policy information in connection with
                          drafting Arrowood insurance demand letters
                          (1.0);
8/3/2023 Jesse Bair       Provide instructions to B. Cawley re preparing       0.30    $187.50
                          Arrowood insurance demands (.2); answer
                          follow-up questions re same (.1);
8/3/2023 Nathan Kuenzi    Begin revising draft Section 349 complaint           1.60    $672.00
                          based on partner suggestions (1.6);
8/3/2023 Jesse Bair       Correspondence with K. Dine re Committee             0.10     $62.50
                          insurance strategy PowerPoint (.1);
8/3/2023 Nathan Kuenzi    Prepare for conference with T. Burns re              0.40    $168.00
                          Section 349 complaint (.1); participate in
                          conference with T. Burns re same and
                          suggested revisions (.3)
8/3/2023 Brian Cawley     Draft new insurance demand letter language           3.10   $1,302.00
                          (.2); discuss demand letter project with K.
                          Sticklen (.4); create spreadsheet of relevant
                          insurance demand letter information (.5);
                          discuss demand letter assignment with A.
                          Turgeon (.2); draft Arrowood insurance
                          demand letters (1.3); revise LMI/Allianz
                          insurance demand letters (.5);
8/3/2023 Brian Cawley     Continue drafting revised version of motion for      5.90   $2,478.00
                          relief from stay to send insurance demands
                          (3.8); research duty to settle and effect of
                          demands in connection with same (2.1);
8/4/2023 Timothy Burns    Review correspondence from co-mediators              0.10     $97.50
                          and PSZJ re mediation (.1);
8/4/2023 Jesse Bair       Review draft correspondence to the Diocese           0.20    $125.00
                          re potential non-consensual insurance
                          settlements (.1); correspondence with N.
                          Kuenzi re suggested edits to same (.1);
8/4/2023 Nathan Kuenzi    Continue drafting revised section 349                4.50   $1,890.00
                          adversary complaint (4.5);
8/4/2023 Brian Cawley     Continue drafting Arrowood demand letters            3.30   $1,386.00
                          (3.1); discuss demand letter project with K.
                          Sticklen (.2);
8/4/2023 Nathan Kuenzi    Review communications from J. Bair regarding         0.40    $168.00
                          letter to the Diocese re non-consensual
                          insurance settlements and potential 349
                          complaint (.1); draft revisions to letter based on
                          same (.3);
8/4/2023 Katie Sticklen   Continue researching case law regarding              7.50   $2,835.00
                          automatic stay and demand letter correlation to
                          debtor and if a demand letter can be sent to
                          debtor notwithstanding the automatic stay
                          (4.0); conference with B. Cawley re Arrowood
                          demand letter project (.2); continue analyzing
                          POC information in connection with drafting
                          Arrowood insurance demand letters (3.3);
8/4/2023 Jesse Bair      Review correspondence from the mediators re         0.10     $62.50
                         insurance counters (.1);
8/4/2023 Nathan Kuenzi   Draft letter to the Diocese re non-consensual       1.80    $756.00
                         insurance settlement issues and potential
                         Section 349 complaint re same (1.8);
8/4/2023 Jesse Bair      Review monthly Diocese PSIP information (.1);       0.10     $62.50
8/5/2023 Nathan Kuenzi   Review communications from J. Bair regarding        1.80    $756.00
                         draft derivative standing letter to the Diocese
                         (.2); revise letter based on partner feedback
                         (1.6);
8/5/2023 Nathan Kuenzi   Review communications from J. Bair regarding        1.60    $672.00
                         draft Section 349 complaint (.1); draft revised
                         version of same to incorporate partner edits
                         (1.5);
8/5/2023 Jesse Bair      Respond to correspondence with K. Dine and          0.20    $125.00
                         J. Stang re Arrowood 2004 exam issues (.1);
                         participate in call with T. Burns re same (.1);
8/5/2023 Jesse Bair      Respond to additional correspondence with N.        0.10     $62.50
                         Kuenzi re response letter to the Diocese re
                         potential non-consensual insurance
                         settlements (.1);
8/5/2023 Jesse Bair      Participate in call with T. Burns re derivative     0.10     $62.50
                         demand letter to the Diocese re Section 349
                         claim re non-consensual insurance settlements
                         (.1);
8/5/2023 Timothy Burns   Review and revise draft Section 349 complaint       1.40   $1,365.00
                         re diocesan-insurer settlement (1.4);
8/6/2023 Brian Cawley    Continue drafting Arrowood demands (2.4);           2.40   $1,008.00
8/6/2023 Timothy Burns   Review and revise derivative demand letter          1.40   $1,365.00
                         (.6); review and revise Arrowood 2004
                         discovery motion and topics (.8);
8/6/2023 Brian Cawley    Draft Burns declaration in support of motion for    1.90    $798.00
                         relief from stay (1.3); draft notice and proposed
                         Order for motion for relief from stay (.6);
8/7/2023 Jesse Bair      Correspondence with PSZJ team re current            0.10     $62.50
                         draft of Rule 2004 requests to Arrowood (.1);
8/7/2023 Jesse Bair      Begin reviewing and editing draft motion for        2.60   $1,625.00
                         partial lift of the stay to send insurance demand
                         letters (2.3); case law research in connection
                         with same (.1); participate in call with B.
                         Cawley re additional edits needed to same
                         (.1); correspondence with B. Cawley re
                         exhibits needed in connection with same (.1);
8/7/2023 Jesse Bair      Begin reviewing and editing draft Section 349       0.30    $187.50
                         complaint against LMI and Interstate (.3);
8/7/2023 Brian Cawley    Correspond with J. Bair and T. Burns regarding      0.50    $210.00
                         motion for relief from stay (.5);
8/7/2023 Jesse Bair      Review recent LMI counter (.1);                     0.10     $62.50
8/7/2023 Nathan Kuenzi    Draft revisions to Arrowood 2004 discovery        1.60    $672.00
                          requests based on feedback from PSZJ and T.
                          Burns (1.0); case law research in connection
                          with same (.6);
8/7/2023 Katie Sticklen   Continue drafting Arrowood demand letters         4.50   $1,701.00
                          (4.5);
8/7/2023 Brian Cawley     Draft and prepare exhibits to accompany           2.90   $1,218.00
                          motion for relief from stay (2.9);
8/7/2023 Jesse Bair       Review and edit draft Section 349 derivative      0.30    $187.50
                          standing letter to the Diocese (.3);
8/7/2023 Nathan Kuenzi    Revise and edit draft Section 349 complaint       0.40    $168.00
                          and derivative standing letter to the Diocese
                          (.4);
8/7/2023 Brian Cawley     Incorporate partner feedback into motion for      2.70   $1,134.00
                          relief from stay (2.7);
8/7/2023 Nathan Kuenzi    Draft further revised version of draft Section    2.50   $1,050.00
                          349 complaint to incorporate partner
                          suggestions (1.3); case law research in
                          connection with same (1.2);
8/7/2023 Jesse Bair       Review correspondence from the mediators re       0.10     $62.50
                          September mediation sessions (.1);
8/7/2023 Jesse Bair       Begin reviewing and editing draft Arrowood        0.20    $125.00
                          2004 motion (.2);
8/8/2023 Timothy Burns    Review correspondence between BB and              0.10     $97.50
                          PSZJ re Section 349 complaint and derivative
                          standing letter (.1);
8/8/2023 Jesse Bair       Review and edit draft 2004 motion re              1.70   $1,062.50
                          Arrowood exam (1.0); analyze case law re
                          pending proceeding rule (.2); review and edit
                          draft Order entering same (.1); review and edit
                          draft 2004 exam topics to Arrowood (.4);
8/8/2023 Nathan Kuenzi    Draft revisions to 2004 motion and                0.80    $336.00
                          accompanying documents and send to J. Bair
                          (.8);
8/8/2023 Brian Cawley     Finalize Arrowood demand letters (1.6);           1.60    $672.00
8/8/2023 Jesse Bair       Continue reviewing and editing draft Section      1.40    $875.00
                          349 complaint against LMI and Interstate (1.3);
                          correspondence with PSZJ team re same and
                          demand letter (.1);
8/8/2023 Jesse Bair       Review and edit revised version of draft motion   0.50    $312.50
                          to lift stay to send insurance demands (.4);
                          correspondence with PSZJ re same (.1);
8/9/2023 Jesse Bair       Review K. Dine suggested edits to the draft       0.20    $125.00
                          Section 349 complaint against LMI and
                          Interstate (.2);
8/9/2023 Jesse Bair       Correspondence with B. Cawley re exhibits         0.10     $62.50
                          needed for Burns declaration in support of
                          draft 2004 Arrowood motion and motion to lift
                          partial stay to send insurance demands (.1);
8/9/2023 Brian Cawley     Draft Burns declaration for 2004 motion (1.0);      2.00    $840.00
                          compile and prepare exhibits to Burns
                          declaration for 2004 motion (.9); email J. Bair
                          regarding exhibits (.1);
8/9/2023 Timothy Burns    Participate in call with state court counsel re     0.60    $585.00
                          Debtor settlement communications (.4);
                          conference with J. Bair re same (.2);
8/9/2023 Brian Cawley     Correspondence with J. Bair regarding stay          0.20     $84.00
                          motion exhibits (.2);
8/9/2023 Jesse Bair       Review and edit revised version of draft Rule       0.40    $250.00
                          2004 motion against Arrowood (.2);
                          conference with T. Burns re debtor settlement
                          communications (.2);
8/9/2023 Jesse Bair       Review K. Dine suggested edits to the draft         0.10     $62.50
                          2004 motion against Arrowood (.1);
8/9/2023 Jesse Bair       Review and incorporate I. Nasatir's                 0.60    $375.00
                          suggestions to draft Section 349 complaint
                          against LMI and Interstate (.6);
8/9/2023 Brian Cawley     Additional edits and revisions to stay motion       0.90    $378.00
                          declaration and accompanying exhibits (.9);
8/10/2023 Timothy Burns   Met with state court counsel re insurance           2.30   $2,242.50
                          strategy (.3); met with J. Bair and N. Kuenzi re
                          same and ongoing project (.3); participate in
                          strategy meeting with PSZJ re case
                          developments, insurance strategy, and next-
                          steps (1.1); participate in call with state court
                          counsel re same (.3); correspondence with
                          state court counsel re settlement offers (.3);
8/10/2023 Brian Cawley    Research case law re standing issues in             4.70   $1,974.00
                          connection with draft motion to lift stay (3.2);
                          answer T. Burns questions re lift stay issues
                          (.5); draft summary of research and send to T.
                          Burns and J. Bair (1.0);
8/10/2023 Jesse Bair      Review J. Stang correspondence re draft 2004        0.30    $187.50
                          motion and derivative standing issues (.1);
                          review case law re Committee derivative
                          standing (.2);
8/10/2023 Nathan Kuenzi   Conference with T. Burns and J. Bair re             0.30    $126.00
                          insurance strategy and ongoing projects (.3);
8/10/2023 Jesse Bair      Participate in team strategy meeting with           1.40    $875.00
                          PSZJ and T. Burns re settlement updates,
                          insurance strategy, and insurance action-items
                          (1.1); conference with T. Burns and N. Kuenzi
                          re insurance strategy and ongoing projects
                          (.3);
8/11/2023 Jesse Bair      Review joint letter to the Court requesting         0.20    $125.00
                          discovery extensions in the Arrowood district
                          court action and order granting same (.2);
8/11/2023 Jesse Bair      Review correspondence from the mediators re         0.10     $62.50
                          Evanston response to the Committee's counter
                          (.1);
8/11/2023 Jesse Bair      Participate in state court counsel meeting for     1.80   $1,125.00
                          insurance purposes re case developments,
                          strategy, and insurance next-steps (1.8);
8/11/2023 Timothy Burns   Participate in state court counsel meeting for     2.00   $1,950.00
                          insurance purposes re case developments,
                          strategy, and insurance next-steps (1.8);
                          conference with J. Bair re outcome of same,
                          insurance litigation strategy, and related
                          assignments (.2)
8/11/2023 Brian Cawley    Additional case law research re motion for         0.90    $378.00
                          relief from stay issues (.9);
8/11/2023 Jesse Bair      Participate in conference with T. Burns re next-   0.20    $125.00
                          steps with case insurance strategy and
                          outcome of state court counsel meeting (.2);
8/11/2023 Jesse Bair      Review district court order granting the           0.30    $187.50
                          survivors' motion to remand (.2); review
                          correspondence with state court counsel and
                          PSZJ re same (.1);
8/12/2023 Timothy Burns   Review correspondence with state court             0.60    $585.00
                          counsel and PSZJ re remand ruling (.2); review
                          letter and order re extension of discovery in
                          Arrowood action (.2); correspondence with J.
                          Bair re same (.1); review correspondence from
                          mediator re insurer response to counter (.1);
8/12/2023 Jesse Bair      Correspondence with T. Burns re status of          0.10     $62.50
                          discovery in the Arrowood district court action
                          (.1);
8/13/2023 Jesse Bair      Correspondence with B. Cawley re state court       0.10     $62.50
                          counsel lift stay motions (.1);
8/13/2023 Brian Cawley    Analysis regarding insurance demand letters in     1.20    $504.00
                          connection with lift stay motion (1.2);
8/14/2023 Jesse Bair      Review and edit revised version of draft           1.40    $875.00
                          Section 349 complaint against LMI and
                          Interstate (1.4);
8/14/2023 Jesse Bair      Review and finalize Section 349 demand letter      0.20    $125.00
                          to the Diocese (.2);
8/14/2023 Jesse Bair      Review and edit revised version of Arrowood        2.10   $1,312.50
                          2004 Motion (1.5); review and edit revised
                          version of Arrowood 2004 deposition topics
                          (.5); revise and edit proposed Order granting
                          Rule 2004 motion (.1);
8/14/2023 Brian Cawley    Additional revisions to Arrowood 2004 motion       1.00    $420.00
                          (.1);
8/14/2023 Jesse Bair      Listen to voice-message from the mediator re       0.10     $62.50
                          Lexington negotiations (.1);
8/14/2023 Jesse Bair      Review Reassignment Order in LMI district          0.10     $62.50
                          court action (.1);
8/14/2023 Jesse Bair      Analyze and incorporate T. Burns' suggested        0.40    $250.00
                          edits to the draft Section 349 complaint
                          against LMI and Interstate and the draft
                          Section 349 demand letter to the Diocese (.4);
8/14/2023 Jesse Bair      Review correspondence from LMI re                   0.10     $62.50
                          supplemental coverage letter document
                          production (.1);
8/14/2023 Timothy Burns   Review and revise letter to the Diocese and         1.80   $1,755.00
                          accompanying draft draft 349 Complaint v. LMI
                          and Interstate (1.4); review remand decision
                          (.4);
8/15/2023 Jesse Bair      Review Arrowood's response to the                   0.10     $62.50
                          Committee's letter re non-consensual
                          insurance settlement (.1);
8/15/2023 Jesse Bair      Review correspondence from I. Nasatir re            0.10     $62.50
                          Arrowood and New York Guarantee Fund
                          issues in connection with same (.1);
8/15/2023 Jesse Bair      Review K. Dine correspondence re Rule 2004          0.10     $62.50
                          hearing and briefing deadlines (.1);
8/15/2023 Jesse Bair      Provide instructions to B. Cawley re preparing      0.30    $187.50
                          revised version of demand letter lift stay motion
                          (.3);
8/15/2023 Jesse Bair      Review K. Dine correspondence with the              0.10     $62.50
                          Committee re case update and recent
                          developments (.1);
8/15/2023 Timothy Burns   Review email from J. Bair to BB team with           0.20    $195.00
                          attachments re relief from stay joinders (.2);
8/16/2023 Jesse Bair      Answer B. Cawley question re edits to partial       0.10     $62.50
                          motions to lift stay to send insurance demands
                          (.1);
8/16/2023 Brian Cawley    Draft revised, individual motions for relief from   3.30   $1,386.00
                          stay (2.8); draft revised proposed orders
                          granting individualized relief from stay motions
                          (.5);
8/17/2023 Jesse Bair      Review and respond to correspondence from           0.30    $187.50
                          Arrowood re Rule 2004 meet and confer and
                          potential extension (.2); correspondence with
                          K. Dine re same (.1);
8/17/2023 Jesse Bair      Review the Diocese's response to the                0.10     $62.50
                          Committee derivative demand letter (.1);
8/17/2023 Timothy Burns   Review correspondence re 2004 meet and               1.70   $1,657.50
                          confer with Arrowood's counsel (.1);
                          conference with J. Bair re same (.1); review
                          order re extension of discovery in LMI action
                          (.1); review correspondence between PSZJ
                          and state court counsel re diocese's request
                          for information re Arrowood issues (.2); review
                          J. Azrack's decision re remand (.1); review
                          discovery extension request letter from
                          diocese and LMI (.1); review correspondence
                          from K. Dine re insurance issues (.1); review
                          correspondence with J. Bair and B. Cawley re
                          implementation of demand aspect of insurance
                          strategy (.2); review motions for relief from stay
                          draft papers (.2); participate in portion of
                          weekly call with PSZJ team for insurance
                          purposes re case strategy and next-steps (.5);
8/17/2023 Jesse Bair      Participate in conference with T. Burns re           0.10     $62.50
                          Arrowood Rule 2004 meet and confer (.1);
8/17/2023 Jesse Bair      Participate in conference with B. Cawley re          0.30    $187.50
                          preparing initial draft of Committee Section
                          349 derivative standing motion (.2);
                          correspondence with B. Cawley re same and
                          providing additional instructions (.1);
8/17/2023 Jesse Bair      Review the Diocese's and the insurers' request       0.20    $125.00
                          for discovery extensions in the LMI and
                          Evanston district court actions (.1); review
                          Orders granting same (.1);
8/17/2023 Jesse Bair      Participate in portion of weekly call with PSZJ      0.50    $312.50
                          team for insurance purposes re case
                          developments, strategy, and next-steps (.5);
8/17/2023 Brian Cawley    Discuss motion for derivative standing project       2.70   $1,134.00
                          with J. Bair (.2); being drafting Committee
                          motion for derivative standing (2.5);
8/18/2023 Timothy Burns   Prepare draft materials for case insurance           0.40    $390.00
                          update (.4);
8/18/2023 Jesse Bair      Prepare for Rule 2004 meet and confer with           0.40    $250.00
                          Arrowood (.2); participate in Rule 2004 meet
                          and confer with Arrowood (.2);
8/18/2023 Jesse Bair      Review amended notice of hearing re                  0.10     $62.50
                          Arrowood 2004 motion (.1);
8/18/2023 Brian Cawley    Continue drafting Committee motion for               4.70   $1,974.00
                          derivative standing (4.7);
8/18/2023 Jesse Bair      Draft email memorandum to state court                0.50    $312.50
                          counsel re case insurance update and next-
                          steps (.5);
8/20/2023 Jesse Bair      Correspondence with T. Burns re draft                0.10     $62.50
                          Committee derivative standing motion (.1);
8/20/2023 Timothy Burns   Review update email to state court counsel re        0.20    $195.00
                          insurance initiatives (.2);
8/21/2023 Brian Cawley    Implement partner feedback into motion for        2.90   $1,218.00
                          derivative standing (1.2); proof and cite-check
                          motion (.9); examine policy exhibits and
                          information for accuracy (.6); draft email with
                          revised motion and exhibit (.2);
8/21/2023 Jesse Bair      Review the Dicoese's and LMI's joint letter to    0.10     $62.50
                          Judge Subramanian re case status in the LMI
                          district court action (.1);
8/21/2023 Jesse Bair      Review T. Burns' suggested edits to the draft     0.40    $250.00
                          Section 349 derivative standing motion (.2);
                          provide instructions to B. Cawley re edits
                          needed to address same (.2);
8/21/2023 Timothy Burns   Review and revise Committee motion for            1.20   $1,170.00
                          derivative standing (1.2);
8/22/2023 Jesse Bair      Review I. Nasatir correspondence re recent        0.10     $62.50
                          Diocesan insurance activities (.1);
8/22/2023 Timothy Burns   Brief review of latest draft of motion for        0.50    $487.50
                          derivative standing to prosecute section 349
                          claim (.3); review letter from T. Law and C.
                          Sugayan to court in adversary re discovery
                          schedule and related court order (.2);
8/22/2023 Jesse Bair      Participate in portion of Committee meeting       0.70    $437.50
                          for insurance purposes (.7);
8/22/2023 Jesse Bair      Revise and edit the Committee's Section 349       2.70   $1,687.50
                          derivative standing motion, including
                          incorporating edits received from PSZJ (2.6);
                          correspondence with PSZJ team re same (.1);
8/22/2023 Jesse Bair      Review agenda for Committee meeting (.1);         0.10     $62.50
8/23/2023 Jesse Bair      Correspondence with B. Michael re potential       0.10     $62.50
                          LMI counter (.1);
8/23/2023 Jesse Bair      Participate in call with T. Burns re insurance    0.10     $62.50
                          developments and strategy (.1);
8/23/2023 Jesse Bair      Analysis re the Diocese's request re the          0.20    $125.00
                          Committee's Rule 2004 Exam of Arrowood
                          (.1); correspondence with T. Burns and PSZJ
                          re same (.1);
8/23/2023 Timothy Burns   Participate in call with J. Bair re insurance     0.30    $292.50
                          developments and strategy (.1); emails with B.
                          Michael and J. Bair re Diocese's request re
                          Arrowood 2004 exam (.2);
8/24/2023 Jesse Bair      Identify exhibits to the Burns declaration in     0.30    $187.50
                          support of the Committee's derivative standing
                          motion (.2); provide instructions to B. Cawley
                          and N. Kuenzi re preparing Burns Declaration
                          (.1);
8/24/2023 Jesse Bair      Review correspondence from K. Dine re case        0.10     $62.50
                          developments and August 25 mediation
                          session (.1);
8/24/2023 Jesse Bair      Correspond with the mediators re the              0.10     $62.50
                          Committee's response to LMI's latest counter
                          (.1);
8/24/2023 Jesse Bair      Participate in portion of weekly strategy          0.50    $312.50
                          meeting with PSZJ team for insurance
                          purposes re case insurance status and
                          strategy (.5);
8/24/2023 Brian Cawley    Prepare exhibits for derivative standing motion    2.60   $1,092.00
                          (1.0); draft Burns declaraiton for derivative
                          standing motion (.6); draft proposed order
                          granting derivative standing motion (.6);
                          correspond with J. Bair and N. Kuenzi
                          regarding derivative standing motion (.4);
8/24/2023 Jesse Bair      Review the Debtor's suggested edits to the         0.10     $62.50
                          proposed Order granting the Committee's
                          Arrowood Rule 2004 motion (.1);
8/24/2023 Jesse Bair      Correspondence with Arrowood re potential          0.20    $125.00
                          compromise of the Committee's Rule 2004
                          exam (.2);
8/24/2023 Nathan Kuenzi   Assist with finalizing derivative motion           0.70    $294.00
                          declaration and exhibits (.7);
8/24/2023 Timothy Burns   Review and respond to email from debtor re         0.20    $195.00
                          Arrowood discovery (.1); review email from B.
                          Michael to state court counsel re demand
                          cases (.1);
8/24/2023 Jesse Bair      Review and edit the Committee's Section 349        1.40    $875.00
                          derivative standing motion, including
                          incorporation of suggested edits from I. Nasatir
                          (1.1); review and edit Burns declaration and
                          exhibits re same (.1); review and edit draft
                          proposed Order granting the Committee's
                          derivative standing motion (.1);
                          correspondence with PSZJ re revised version
                          of Committee derivative standing motion (.1);
8/24/2023 Jesse Bair      Analysis re insurance issues re unstayed state     0.50    $312.50
                          court actions in connection with potential
                          insurance settlement (.3); correspondence with
                          state court counsel re same (.2);
8/25/2023 Timothy Burns   Participate in full-day mediation session (7.4);   7.40   $7,215.00
8/25/2023 Jesse Bair      Prepare for mediation session (.1);                0.10      $62.50
8/25/2023 Nathan Kuenzi   Draft revisions to New York Guarantee Fund         1.00    $420.00
                          memorandum to incorporate additional
                          research in connection with potential Arrowood
                          recovery (1.0);
8/25/2023 Nathan Kuenzi   Supplemental analysis and research in              2.20    $924.00
                          connection with New York Guarantee Fund
                          issues re potential Arrowood recovery (2.2);
8/25/2023 Jesse Bair      Participate in full-day Zoom mediation session     7.40   $4,625.00
                          (7.4);
8/25/2023 Jesse Bair      Additional correspondence with Arrowood re         0.10     $62.50
                          potential resolution of the Committee's Rule
                          2004 motion (.1);
8/26/2023 Nathan Kuenzi       Review correspondence from T. Burns re             0.30    $126.00
                              Arrowood Guarantee Fund issues (.1); revise
                              research memorandum in connection with
                              same (.2);
8/26/2023 Jesse Bair          Analysis re status of insurance demand letters     0.50    $312.50
                              and motion to lift stay in order to send same
                              (.3); draft correspondence to BB team re same
                              and providing instructions re additional items
                              needed for completion in order to finalize and
                              file same (.2);
8/26/2023 Timothy Burns       Email to N. Kuenzi re research assignment re       0.10     $97.50
                              Arrowood (.1);
8/27/2023 Brenda Horn-Edwards Draft monthly BB fee statement (.6); generate      0.80    $288.00
                              and edit Exhibit A to same (.1); correspond
                              with J. Bair re same (.1);
8/27/2023 Brian Cawley        Correspond with J. Bair regarding Burns            0.20     $84.00
                              declaration for derivative standing motion (.2);
8/28/2023 Brian Cawley        Discuss status of derivative standing and lift     0.30    $126.00
                              stay motions with T. Burns (.3);
8/28/2023 Brian Cawley        Organize and circulate state court counsel         0.60    $252.00
                              demand letters (.6);
8/28/2023 Brian Cawley        Correspondence with state court counsel            0.50    $210.00
                              regarding motion to lift stay and related
                              insurance demands (.5);
8/28/2023 Jesse Bair          Review correspondence from the mediators re        0.10     $62.50
                              LMI's latest mediation counter (.1);
8/28/2023 Timothy Burns       Reviewed and responded to mediator's email         1.20   $1,170.00
                              re LMI's counter (.1); met with B. Cawley re
                              ongoing insurance projects (.3); analyze
                              documents relating to the Debtor's proposal to
                              state court counsel re potential settlements
                              (.8);
8/29/2023 Jesse Bair          Review correspondence from the mediators re        0.30    $187.50
                              Allianz counter offer and potential derivative
                              standing motion extension request (.1); review
                              correspondence with T. Burns and PSZJ team
                              re potential response to same (.1); review
                              additional correspondence with T. Burns and
                              the mediators re same (.1);
8/29/2023 Jesse Bair          Review K. Dine correspondence with the             0.10     $62.50
                              Committee re August 25 mediation outcome
                              and next-steps (.1);
8/29/2023 Jesse Bair          Review correspondence with K. Dine and B.          0.10     $62.50
                              Michael re Arrowood Rule 2004 reply brief and
                              edits to proposed order granting the
                              Committee's motion (.1);
8/29/2023 Timothy Burns   Reviewed mediators' recent correspondence             2.80   $2,730.00
                          re insurance issues (.2) correspondence with
                          committee professionals re same (.2); call with
                          J. Stang re same (.3); prepared response to
                          same (.2); call with state court counsel re same
                          (.2); prepared for state court counsel meeting
                          (.4); participate in state court counsel meeting
                          for insurance purposes (1.2); reviewed and
                          responded to additional correspondence from
                          mediators (.1);
8/29/2023 Jesse Bair      Review draft Order approving 8th interim fee          0.10     $62.50
                          applications (.1);
8/30/2023 Brian Cawley    Participate in conference with T. Burns and N.        0.30    $126.00
                          Kuenzi re motions for partial summary
                          judgment re consent to settle issue against LMI
                          and Interstate (.3);
8/30/2023 Brian Cawley    Draft motion for partial summary judgment on          3.40   $1,428.00
                          consent to settle issue for Interstate (1.6); draft
                          motion for partial summary judgment on
                          consent to settle issue for LMI (1.5); implement
                          T. Burns feedback into motions (.3);
8/30/2023 Nathan Kuenzi   Participate in conference with T. Burns and B.        0.30    $126.00
                          Cawley re motions for partial summary
                          judgment re consent to settle issue against LMI
                          and Interstate (.3);
8/30/2023 Brian Cawley    Begin analyzing recent 9019 ruling in Camden          0.30    $126.00
                          for potential impact on DRVC case (.3);
8/30/2023 Timothy Burns   Conference with B. Cawley and N. Kuenzi re            5.00   $4,875.00
                          motions for partial summary judgment re
                          consent to settle issue against LMI and
                          Interstate (.4); call with state court counsel re
                          same (.2); call with J. Stang re same (.2);
                          reviewed Camden plan confirmation and
                          insurance settlement decisions re insurance
                          issues in DRVC case (1.8); reviewed and
                          revised motions for partial summary judgment
                          against LMI and Interstate re consent to settle
                          issue (2.2); call with state court counsel re
                          same (.2);
8/30/2023 Nathan Kuenzi   Analyze issues pertaining to potential                1.50    $630.00
                          confidentiality and/or privilege arguments that
                          Arrowood may raise in response to 2004
                          motion (1.5);
8/30/2023 Jesse Bair      Review correspondence with T. Burns and K.            0.10     $62.50
                          Dine re potential insurance partial summary
                          judgment motions (.1);
8/30/2023 Jesse Bair      Preliminary analysis re recent confirmation           0.10     $62.50
                          decision from the Diocese of Camden case
                          (.1);
8/30/2023 Brian Cawley    Draft Committee joinder to individualized             2.20    $924.00
                          motions for relief from stay to send insurance
                          demands (2.2);
8/31/2023 Brian Cawley    Conference with T. Burns re motion for relief         2.00      $840.00
                          from stay joinder(.2); participate in strategy
                          meeting with PSZJ team re case insurance
                          strategy, status, and ongoing projects (1.3);
                          follow-up on action items from same (.5);
8/31/2023 Jesse Bair      Review Lexington's request for an extension to        0.10       $62.50
                          respond to the Committee's derivative
                          standing motion (.1);
8/31/2023 Brian Cawley    Revise individualized lift stay motions (.3);         0.30     $126.00
8/31/2023 Timothy Burns   Participate in call with state court counsel re       4.00    $3,900.00
                          insurance developments (.2); reviewed and
                          revised motion for relief from stay joinder (1.4);
                          met with B. Cawley re same (.2); participate in
                          weekly strategy call with PSZJ team re case
                          insurance strategy, status, and ongoing
                          projects (1.3); review correspondence from K.
                          Dine re adjournment of derivative standing
                          hearing (.1); email to mediators re same (.1);
                          reviewed and responded to email from
                          Lexington's counsel re same (.1); continued
                          analysis re case insurance strategy and next-
                          steps (.6);
8/31/2023 Jesse Bair      Review Evanston's response to the                     0.10       $62.50
                          Committee's Section 3420 notice letter (.1);
8/31/2023 Brian Cawley    Continue analyzing Camden 9019 ruling for             1.60      $672.00
                          material pertinent to DRVC case (1.6);
8/31/2023 Jesse Bair      Review correspondence with K. Dine and                0.20      $125.00
                          Chambers re the adjournment of the
                          Committee's derivative standing motion (.1);
                          review correspondence with the mediators re
                          same (.1);
8/31/2023 Brian Cawley    Revise and edit Committee joinder in support          0.60      $252.00
                          of lift stay motions to incorporate partner edits
                          (.6);
8/31/2023 Nathan Kuenzi   Analyze issues relating to deliberative process       2.20      $924.00
                          privilege in connection with Arrowood 2004
                          motion (2.2);
Total Hours and Fees                                                           207.70 $118,810.60


                               Timekeeper Summary
Name                                          Hours                 Rate                 Amount
Alyssa Turgeon                                  1.20            $360.00                   $432.00
Brenda Horn-Edwards                             0.80            $360.00                   $288.00
Brian Cawley                                   74.20            $420.00                $31,164.00
Jesse Bair                                     41.80            $625.00                $26,125.00
Katie Sticklen                                 20.20            $378.00                 $7,635.60
Nathan Kuenzi                                  26.30            $420.00                $11,046.00
Timothy Burns                                  43.20            $975.00                $42,120.00
Total Due This Invoice: $118,810.60
